Case 1:21-cv-11205-FDS Document 182-48 Filed 01/06/25 Page iof4

FILED PARTIALLY UNDER SEAL

Exhibit 48

June 25, 2021 Notice
Case 1:21-cv-11205-FDS Document 182-48 Filed 01/06/25 Page 2of4

From: Josh Weiner [/O=CHBL/OU=EXCHANGE ADMINISTRATIVE GROUP
({FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=FD8CF2A773C343C1A55E8FE98820CCFA-JOSH WEINER]

Sent: 6/25/2021 5:46:13 PM

To: Jeff Silver [jeffreysilver @silver-law.net]

Subject: FW: Bill McClary v Performance Contracting, Owens Corning

Attachments: DOC062521.pdf

Mr. Silver,
This was received today and appears to be AEIC's, based on the second page.

Thanks,
Josh

Joshua weiner
Vice President, Claims Counsel
Catalina U.S. Insurance Services LLC

T: +1 860 773 3417
www. catalinare.com

=== Original Message-----

From: John Mindek <JohnMindek@catalinare.com>

Sent: Friday, June 25, 2021 1:16 PM

To: Josh Weiner <joshweiner@catalinare. com>

Subject: Bill Mcclary v Performance Contracting, Owens Corning

Hi Josh - we received the attached, which seems to be an American Employers claim

John Mindek
Senior Vice President Claims
Catalina U.S. Insurance Services LLC

T: +1 860 773 3423
www. catalinare.com

----- Original Message-----

From: Farmingtoncopier <netadmin@catalinare. com>
Sent: Friday, June 25, 2021 3:31 PM

To: John Mindek <JohnMindek@catalinare.com>

Subject: send data from MFP13931105 06/25/2021 12:31

Scanned from MFP13931105
Date:06/25/2021 12:31
Pages:2

Resolution: 200x200 DPI

CONFIDENTIAL SPARTA-00089815
Case 1:21-cv-11205-FDS Document 182-48 Filed 01/06/25 Page 3of4

DIVISION OF WORKERS’ COMPENSATION
WORKERS’ COMPENSATION APPEALS BOARD

DATE OF SERVICE: 06/15/2021
EAMS CASE NBR(s): ADJ4250810

EMPLOYEE: Redacted
EMPLOYER: Redacted
INSURER: [| Redacted

TYPE OF HEARING: Status Conference
_ DATE OF HEARING: 07/28/2021 WEDNESDAY.
TIME OF HEARING: 01:30 P.M.

HEARING LENGTH (HOURS):

LOCATION: Toll free #: (888) 251-2909
Access Code: 5968089
TELECONFERENCE 0

Map availabie at: hitp-/Awww.dir.ca.gov/dwe/dir2.htm
JUDGE: Francie R. Lehmer

SPECIAL COMMENTS/INSTRUCTIONS:

During the COVID-19 crisis all hearings are remote. Please call the number above. Durante la
crisis de COVID-19, todas las audiencias son remotas. Por favor lame al numero de arriba.

NOTICE TO INJURED WORKERS: IF YOU NEED AN INTERPRETER, CONTACT YOUR ATTORNEY OR CLAIMS ADMINISTRATOR
IMMEDIATELY. YOU HAVE A RIGHT TC AN INTERPRETER IF YOU ARE UNABLE TO SPEAK OR ADEQUATELY UNDERSTAND
ENGLISH.

You are hereby notified that the above entitled case is set for hearing before the Division of Workers’ Compensation of the State of
California. Continuances are not favored and will be granted only upon clear showing of good cause. Please arrive before scheduled
appearance time.

NOTICE TO PARTIES: Disability Accommodation is available upon request. Individuals with a disability requiring a reasonable
accommodation (such as an auxiliary aid or service or a modification of policies or procedures) to ensure effective communication and
access to the programs of the Division of Workers’ Compensation, should contact the Disability Accommodation Coordinator at the
local District Office of tha DWC, or the Statewide Disability Accommodation Coordinator at 1-866-681-1469 (toll free) or through the
California Relay Service, by dialing 714 or 1-800-735-2929 (TTY) or 1-800-855-3000 (TTY-Spanish).

Accommodations can include reasonable modifications of procedures or the provision of auxiliary aids or services Including, but not limited
to, assistive listening devices (ALD), Computer-Aided Realtime Translation (CART), sign language interpreters, documents in alternative
formats, magnifiers, and audio cassette recordings. Accommodation requests should be made as soon as possible and at least five
(5) days before the hearing, especially for requests for an ALD, a sign language interpreter, or CART.

NOTICE TC INSURER: The employer will not recelve Notice of Hearing.

WCOi (10-15)

CONFIDENTIAL SPARTA-00089816
Case 1:21-cv-11205-FDS Document 182-48 Filed 01/06/25 Page 4of4

fyatag Hag TEL UMMaggfeanDaMandy equal gy ggg dy hb dagagharty | play]

LEcL-€0216 VO AIVWONATS
$14 GA18 ONVHE N 168
SNI SYSAOTANE NYOIMANY

ZOGDOCIIT Ted 622490000008 Id PIL
STE DAVY HOD DUR KOLA K Rx KKK KEK KHER HK

Z002-ZOLP6 WO ‘OOSIONYH NYS f
14 ONZ SAV BLVD NAGIOS scr &
rdy-o4s

CONFIDENTIAL SPARTA-00089817

DIROO456_1_1000004039001 0000000010010
